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U.S. Department of Justice

United States Attorney
District of Maryland

 

 

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October 6, 2014

Honorable Catherine C. Blake
United States District Judge
U.S. Courthouse

101 West Lombard Street
Baltimore, Maryland 21201

Re: United States v. Bodog Entertainment Group, et al,
Criminal No. CCB-12-087

 

Dear Judge Blake:

The above-referenced case involves internet gambling and international money laundering. No
defendants have appeared in this case, and no defense counsel has entered an appearance. The corporate
entity was created under Costa Rican law, and the individuals are Canadians, believed to be living in
Canada and in Antigua. As I mentioned in my July status letter, counsel and I reached an agreement in
principle to resolve this case. Unfortunately, we were unable to conclude that agreement.

The parties intend to continue to try to find a resolution that will not require extradition of the
defendants, but, in the meantime, | am pursuing extradition. Because that process can take a number of
years, I am respectfully suggesting that this case can be closed administratively until there is a need for
further proceedings. If the case cannot be closed administratively, I can provide periodic status reports on
any schedule that would please the Court.

Very truly yours,

Rod J. Rosenstein
United States Attorney

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Richard C. Kay
Assistant United States Attorney
